Case 1:18-cv-02032-CFC-CJB Document 211 Filed 08/19/20 Page 1 of 5 PageID #: 102327




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


    PAR PHARMACEUTICAL, INC., PAR
    STERILE PRODUCTS, LLC and ENDO
    PAR INNOVATION COMPANY, LLC,
                                               C.A. No. 18-2032-CFC-CJB
                       Plaintiffs,             (consolidated)

    v.

    AMPHASTAR PHARMACEUTICALS INC.,

                       Defendant.


     PLAINTIFFS’ RESPONSE TO DEFENDANT AMPHASTAR PHARMACEUTICALS,
    INC.’S AUGUST 7, 2020 LETTER TO THE HONORABLE CHRISTOPHER J. BURKE
                         REGARDING DISCOVERY DISPUTE

    Dated: August 12, 2020                 Brian E. Farnan (Bar No. 4089)
                                           Michael J. Farnan (Bar No. 5165)
    Of Counsel:                            FARNAN LLP
                                           919 N. Market St., 12th Floor
    Martin J. Black                        Wilmington, DE 19801
    Sharon K. Gagliardi                    Telephone : (302) 777-0300
    Brian M. Goldberg                      Fax : (302) 777-0301
    Joseph J. Gribbin (Bar No. 5677)       bfarnan@farnanlaw.com
    DECHERT LLP                            mfarnan@farnanlaw.com
    Cira Centre
    2929 Arch Street                       Johnathan D.J. Loeb, Ph.D.
    Philadelphia, PA 19104                 DECHERT LLP
    Tel: (215) 994-4000                    2400 W. El Camino Real, Suite 700
                                           Mountain View, CA 94040-1499
    Robert D. Rhoad                        Tel: (650) 813-4995
    DECHERT LLP                            jonathan.loeb@dechert.com
    502 Carnegie Center, Suite #104
    Princeton, NJ 08540                    Blake B. Greene
    Tel: (609) 955-3200                    DECHERT LLP
                                           300 W. 6th Street, Suite 2010
                                           Austin, TX 78701
                                           Tel: (512) 394-3000

                                           Attorneys for Plaintiffs
Case 1:18-cv-02032-CFC-CJB Document 211 Filed 08/19/20 Page 2 of 5 PageID #: 102328




   Dear Judge Burke:

          Plaintiffs Par Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo Par Innovation
   Company, LLC (collectively, “Par”) maintain their objections based on privilege and undue
   burden with respect to Defendants’ Joint Interrogatories Nos. 15 and 16 (the “Interrogatories”)
   and request that the Court deny Defendant Amphastar Pharmaceuticals, Inc.’s letter request to
   compel a further response to these Interrogatories.

            It is clear that the attorney-client privilege applies to protect communications between a
   client and patent prosecution counsel “regarding the patents, the preparation of the application,
   the filing of the application, and the prosecution of the application.” In re TQ Delta, No. 17-
   MC-328-RGA, 2018 WL 5033756, at *3 (D. Del. Oct. 17, 2018); see also In re Spalding Sports
   Worldwide, Inc., 203 F.3d 800, 805 (Fed. Cir. 2000) (recognizing that “technical information
   such as prior art” is often provided to patent counsel “for legal advice on patentability or for
   legal services in preparing a patent application”). The distinction between privileged
   communications and non-privileged facts was well articulated in Advanced Cardiovascular
   Systems, Inc. v. C.R. Bard, Inc., 144 F.R.D. 372 (N.D. Cal. 1992):

          Before explaining the principal bases for this reversal, we emphasize some
          important related points. First, what the privilege presumptively protects from
          discovery is specific communications between client and counsel, not the relevant
          underlying facts, data or information. Thus, the kind of information that the Jack
          Winter and Hercules courts were concerned about making available to opposing
          parties and to the trier of fact (“technical information such as the results of
          research, tests, and experiments”) will remain available, even if certain
          communications which include that information are presumptively privileged. In
          other words, opposing parties will remain free to discover, directly from the
          inventor, all the technical information the inventor had about the invention, all the
          results of tests the inventor performed, or had performed, all the documents
          related to experiments with the invention, everything the inventor knew about
          prior art, etc. The effect of the privilege only would be to block access to that
          kind of information indirectly, by blocking access to the private communications
          between inventor and patent lawyer.

   Id. at 374; see also Knogo Corp. v. United States, 213 U.S.P.Q. 936, 940–41 (Ct. Cl. 1980); Jack
   Winter, Inc., v. Koratron Co., 54 F.R.D. 44, 46–47 (N.D. Cal. 1971); Hercules Inc. v. Exxon
   Corp., 434 F. Supp. 136, 147–148 (D. Del. 1977).

          Here, the Interrogatories as written are very specifically directed to obtaining information
   about the communications between attorneys and inventors that the case law clearly states is
   protected by the attorney-client privilege.

           Interrogatory No. 15 asks Par to “[i]dentify all prior art documents and/or correspondence
   with the [FDA] provided by Par to Prosecution Counsel during the prosecution of the Patents-
   in-Suit or any Related Application.” It doesn’t ask Par to identify all known prior art to the
   patents-in-suit; rather, it asks for prior art communicated by an inventor or someone else at Par
   to prosecution counsel. Answering that interrogatory would necessarily reveal the substance of


                                                    1
Case 1:18-cv-02032-CFC-CJB Document 211 Filed 08/19/20 Page 3 of 5 PageID #: 102329




   an attorney-client communication—saying that “X was provided to counsel” is revealing the
   substance of what was communicated. Par has already produced copies of the prior art it had in
   its possession in response to Defendants’ requests for production of documents. The prior art is
   not what Amphastar is looking for; it wants the privileged communications relating to the prior
   art. That is improper.

            Similarly, Interrogatory No. 16 asks Par to “[d]escribe in detail all facts provided to
   Prosecution Counsel during the prosecution of the Patents-in-Suit or any Related Application
   regarding the pH and/or impurity profile of any vasopressin formulation commercially sold
   before 2016.” Again, it doesn’t ask Par about the pH or impurity profiles of vasopressin
   formulations sold before 2016; rather, it asks for facts communicated by an inventor or someone
   else at Par to prosecution counsel, and answering that interrogatory would necessarily reveal the
   substance of an attorney-client communication. Defendants have asked separate interrogatories
   directed to obtaining facts about pH and impurity profiles for various vasopressin formulations,
   including the one that immediately follows this one. See D.I. 205, Ex. A at 5 (Interrogatory No.
   17); Ex. E at 5 (Interrogatory No. 6). Moreover, Par has already produced copies of documents
   in its possession regarding pH and impurity profiles, and Par permitted Defendants to ask the
   inventors and other deponents what information and knowledge they had about those issues.
   Again, however, that is not what Amphastar is looking for; it wants the privileged
   communications relating to those topics. And again, that is improper.

           If, hypothetically, an inventor sent prior art to prosecution counsel in connection with a
   request for legal advice related to patent prosecution, Par would have produced that piece of
   prior art, but would have properly withheld the privileged communication. Likewise, Par would
   not withhold technical documents related to the asserted claims of the patents-in-suit generated
   in the course of product development on the basis that they were sent to an attorney as part of a
   privileged communication. The technical documents would be produced, but the attorney
   communication(s) about them would be properly withheld as privileged.

           Defendants’ attempt to equate the challenged Interrogatories with the one at issue in
   Vasudevan falls flat. The interrogatory in Vasudevan asked for the identity of prior art known or
   reasonably believed to be relevant to the patent-in-suit, as well as the date and circumstances
   under which each inventor or prosecution counsel first became aware of such art. Vasudevan
   Software, Inc. v. Int'l Bus. Machines Corp., No. C 09-05897 RS (PSG), 2011 WL 1599646, at *1
   (N.D. Cal. Apr. 27, 2011). The court noted that “[t]he client cannot be compelled to answer the
   question, ‘what did you say or write to the attorney?’ but may not refuse to disclose any relevant
   fact within his knowledge merely because he incorporated a statement of such fact into his
   communication to his attorney.” Id. at *2 (citation omitted). The court found that portions of the
   interrogatory could be answered without revealing attorney-client communications, but
   acknowledged that the patentee could still withhold “information about particular circumstances
   because such disclosure would reveal the substance of an attorney-client communication.” Id. at
   *3. While asking an inventor during deposition whether he or she were aware of a particular
   prior art reference at the time a patent was being prosecuted would not be privileged, if the
   question was whether the inventor sent a particular piece of prior art to prosecution counsel, that
   question would seek privileged information. See, e.g., Bergstrom, Inc. v. Glacier Bay, Inc., No.
   08 C 50078, 2010 WL 257253, at *3 (N.D. Ill. Jan. 22, 2010).



                                                   2
Case 1:18-cv-02032-CFC-CJB Document 211 Filed 08/19/20 Page 4 of 5 PageID #: 102330




           Any communications between Par and its prosecution counsel related to alleged prior art
   or technical documents seek advice concerning patent prosecution and are privileged. The
   challenged Interrogatories seek the substance of such communications—i.e., what information
   was conveyed by Par to prosecution counsel. They seek to invade the privilege under the guise
   of seeking non-privileged facts, but revealing what particular art or what technical information
   was discussed or exchanged between Par and its counsel is protected.

           In the Idenix case cited by Defendants, for example, the court found an email addressed
   to in-house counsel regarding technical issues in a draft patent application to be privileged,
   noting “[w]here client and counsel share technical information, that communication is privileged
   as long as it was made for the purpose of securing legal advice or legal services, or conveying
   legal advice.” Idenix Pharms. v. Gilead Scis., Inc., 195 F. Supp. 3d 639, 643 (D. Del. 2016)
   (quoting SmithKline Beecham Corp. v. Apotex Corp., 232 F.R.D. 467, 480 (E.D. Pa. 2005)).

          Bergstrom is also instructive. The court there denied a motion to compel responses to
   requests for admission as to whether particular alleged prior art was disclosed to prosecution
   counsel for purposes of trying to establish inequitable conduct. Bergstrom, 2010 WL 257253, at
   *3. Relying on In re Spalding, the court found that answering those requests would require
   counsel to disclose the substance of protected attorney-client communications. Id. at *4.

           As the court in Bergstrom makes clear, the communication of prior art to prosecution
   counsel by an inventor or patent applicant is made for the purpose of obtaining legal advice, and
   is thus protected by the attorney-client privilege. Bergstrom, 2010 WL 257253, at *3. As such,
   even “[y]es or no questions can implicate the attorney-client privilege.” See Mattel, Inc. v. MGA
   Entm’t, Inc., No. CV 04-9049 DOC RNBX, 2010 WL 3705907, at *5 (C.D. Cal. Sept. 20, 2010)
   (citing Bergstrom in holding that RFAs seeking admissions about whether certain documents
   were privileged were objectionable). In Mattel, the court rejected the defendants’ arguments that
   such RFAs sought “the same as what a privilege log reveals,” similar to the argument Defendants
   make here. See Mattel, 2010 WL 3705907, at *5. As with the “yes” or “no” questions asked in
   these cases, by asking Par to identify what art and technical information Par provided to
   prosecution counsel, Defendants are attempting to compel Par to reveal the content and
   substance of those communications. This is inappropriate.

           Par also maintains its additional objection that responding to these Interrogatories would
   be unduly burdensome. Par has performed a reasonable search for relevant, discoverable
   information in accordance with the ESI agreement entered into by the parties. In accordance
   with that agreement, Par identified, and Defendants consented to, the custodians whose
   documents would be collected and searched utilizing agreed-upon search terms. The
   Interrogatories ask for information sent by anyone at Par to prosecution counsel and is not
   limited to information sent by the custodians from whom Par gathered and produced documents.
   It would be unduly burdensome to require Par to gather, collect, and review communications
   from additional custodians outside the scope of the reasonable universe already agreed upon by
   the parties in order to respond to the Interrogatories. To the extent Par is required to further
   supplement its response to the Interrogatories in any way, it respectfully requests that it not be
   required to look for communications outside the scope of documents in the agreed-upon universe
   for discovery in this matter. The Interrogatories constitute a burdensome intrusion into the
   attorney-client privilege, and for the above reasons, the Court should deny Amphastar’s request.


                                                   3
Case 1:18-cv-02032-CFC-CJB Document 211 Filed 08/19/20 Page 5 of 5 PageID #: 102331




                                             Respectfully submitted,

                                             /s/ Michael J. Farnan

                                             Michael J. Farnan

   cc: Counsel of Record (Via E-Mail)




                                         4
